      Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 1 of 13




                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig Deepwater Horizon
in the Gulf of Mexico, on April 20, 2010,                     MDL NO. 2179

                                                              Case No. 2:11‐CV‐03180
THANH HAI, INC.; TONY NGUYEN; KHANG VAN
DANG, and the more than 700 persons named                     SECTION: J
herein,
                                                              Judge Barbier
                        Plaintiffs,                           Magistrate Judge Shushan
vs.

BP AMERICA PRODUCTION COMPANY; BP
EXPLORATION AND PRODUCTION, INC.;
ANADARKO PETROLEUM CORPORATION;
MOEX OFFSHORE 2007, LLC; MOEX USA
CORPORATION; MITSUI OIL EXPLORATION CO.,
LTD.; TRANSOCEAN HOLDINGS LLC; TRITON
ASSET LEASING GMBH; TRANSOCEAN
DEEPWATER, INC.; TRANSOCEAN OFFSHORE
DEEPWATER DRILLING, INC.; TRANSOCEAN
LTD.; CAMERON INTERNATIONAL
CORPORATION F/K/A COOPER‐CAMERON
CORPORATION; HALLIBURTON ENERGY
SERVICES, INC.; M‐I, LLC, WEATHERFORD U.S.
L.P.,

                        Defendants.


_________________________________________________________________________________________________________

                                COMPLAINT FOR INTERVENTION
_________________________________________________________________________________________________________


         NOW INTO COURT, comes Stephen S. Kreller of The Kreller Law Firm, Gerard M.

Nolting, William L. Roberts, and Craig S. Coleman of Faegre Baker Daniels, LLP (formerly

Faegre & Benson, LLP), and Duncan Lott and Casey L. Lott of Langston & Lott, PA


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   Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 2 of 13




(hereinafter referred to collectively as “Intervening Attorneys”), intervenors herein, who

respectfully aver the following:

                                             1.

       Defendants‐in‐Intervention are as follows:

   (a) Raymond S. Vath (GCCF Claim No. 1133907), a person of the full age of majority and

       currently residing in Jefferson Parish, Louisiana. Val Patrick Exnicios currently

       represents Mr. Vath in these proceedings.

   (b) Rebecca Winkler Vath (GCCF Claim No. 3406518), a person of the full age of

       majority and currently residing in Jefferson Parish, Louisiana. Val Patrick Exnicios

       currently represents Mrs. Vath in these proceedings.

   (c) Brian Jacob Winkler (GCCF Claim No. 1094302), a person of the full age of majority

       and currently residing in Jefferson Parish, Louisiana. Val Patrick Exnicios currently

       represents Mr. Winkler in these proceedings.

                                             2.

       On March 16, 2011, Raymond S. Vath and Rebecca Winkler Vath retained

Intervening Attorneys to represent them in their claims with the Gulf Coast Claims Facility

at a cost included contingency fee of 18 percent. On December 6, 2011, Raymond S. Vath

and Rebecca Winkler Vath retained Intervening Attorneys to represent them in the multi‐

district litigation at a cost included contingency fee of 25 percent. The fee arrangement

with Mr. Vath and Mrs. Vath would remain at 25 percent even if they elected to opt‐out of

participation in the Seafood Compensation Program.




                                                                                          2
   Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 3 of 13




                                              3.

       On March 21, 2011, Brian Winkler retained Intervening Attorneys to represent him

in their claims with the Gulf Coast Claims Facility at a cost included contingency fee of 18

percent. On December 6, 2011, Brian Winkler retained Intervening Attorneys to represent

him in the multi‐district litigation at a cost included contingency fee of 25 percent. The fee

arrangement with Mr. Winkler would remain at 25 percent even if he elected to opt‐out of

participation in the Seafood Compensation Program.

                                              4.

       Intervening Attorneys actively and aggressively pursued for Mr. Vath, Mrs. Vath, and

Mr. Winkler their GCCF claims through Ken Feinberg and their MDL claims through

litigation for more than a year.

                                              5.

       Intervening Attorneys had numerous client interviews and meetings with Mr. Vath,

Mrs. Vath, and/or Mr. Winkler to fully investigate and document their claims.

                                              6.

       Intervening Attorneys collected and analyzed all necessary business records related

to their claims.

                                              7.

       Intervening Attorneys hired and paid marine biologists tens of thousands of dollars

to obtain, test, and document multiple samples of their oyster reefs on May 24, 2011 and

May 25, 2011.




                                                                                            3
   Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 4 of 13




                                              8.

       Intervening Attorneys’ team of oyster and marine biologists extensively analyzed

the density and mortality of oysters on the Vath leases.

                                              9.

       Intervening Attorneys dedicated a team of attorneys to work with Mr. Vath, Mrs.

Vath, and Mr. Winkler. These attorneys personally investigated, documented, and handled

their claims and have corresponded with these clients on an ongoing basis.

                                             10.

       Intervening Attorneys met with Ken Feinberg and GCCF multiple times in

Washington, D.C. to negotiate with GCCF on their behalf. This included a meeting in which

we flew oyster and marine biologists to Washington, D.C. to present their findings to Mr.

Feinberg and GCCF. The efforts of Intervening Attorneys resulted in significant revisions to

GCCF’s methodologies for oyster leases, including recognition of property interest of Mr.

Vath, Mrs. Vath, and Mr. Winkler in their leases.

                                             11.

       Intervening Attorneys filmed and produced a video that included Mr. Vath for

presentation to GCCF and BP's counsel.

                                             12.

       Intervening Attorneys prepared fully documented and detailed claims to GCCF for

Mr. Vath, Mrs. Vath, and Mr. Winkler. Those claims included extensive analysis of the Vath

leaseholds and lost revenues caused by the oil spill, and were supported by expert reports

including reports from one of the leading experts from the Exxon Valdez litigation and two

oyster biologists. Intervening Attorneys paid for these experts and the reports.


                                                                                          4
   Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 5 of 13




                                             13.

       In conjunction with our experts, Intervening Attorneys developed damage

methodologies for oyster leaseholders including the use of damage multipliers and

reimbursement for property damage.         These methodologies and concepts have been

incorporated into the Seafood Compensation Program and are integral to the compensation

that Mr. Vath, Mrs. Vath, and Mr. Winkler will receive under the oyster leasehold formulas.

                                             14.

       Intervening Attorneys represent Mr. Vath, Mrs. Vath, and Mr. Winkler in the In Re

Deepwater Horizon litigation on a direct action basis. Mr. Vath is a named plaintiff in a

Vessels of Opportunity complaint filed on November 8, 2011, and we are counsel of record

for him in that litigation. See Hong Van Truong, et al. v. BP American Production Company,

et al., U.S.D.C. for the Eastern District of Louisiana, Case No. 2:11‐cv‐02766. Mr. Vath, Mrs.

Vath, and Mr. Winkler are named plaintiffs in an OPA 90 complaint filed on December 28,

2011, and we are counsel of record for them in that litigation. See Thanh Hai, Inc., et al. v.

BP American Production Company, et al., U.S.D.C. for the Eastern District of Louisiana, Case

No. 2:11‐cv‐03180.

                                             15.

       The GCCF claims and supporting documentation Intervening Attorney submitted for

Mr. Vath, Mrs. Vath, and Mr. Winkler are now being used by the Seafood Compensation

Program to compensate Mr. Vath, Mrs. Vath, and Mr. Winkler.

                                             16.

       Intervening Attorneys extensively participated in settlement negotiations with the

PSC and BP regarding compensation for oyster leaseholders. The efforts of Intervening


                                                                                              5
  Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 6 of 13




Attorneys were directly responsible for doubling the amounts that Mr. Vath, Mrs. Vath, and

Mr. Winkler will receive through the Seafood Compensation Program.

                                            17.

       Additionally, Intervening Attorneys extensively participated in mediations with

Special Master John W. Perry, Jr. and Dan J. Balhoff regarding the formulas and

compensation available under the Seafood Compensation Program.

                                            18.

       Since filing of the settlement agreement, Intervening Attorneys have documented

the claims of Mr. Vath, Mrs. Vath, and Mr. Winkler to ensure collection of all information

necessary to obtain compensation under the Seafood Compensation Program. Intervening

Attorneys calculated their claims under the settlement.

                                            19.

       In addition to meetings with our oyster‐leasehold clients, Intervening Attorneys

personally met with Mr. Vath, Mrs. Vath, and Mr. Winkler on May 11, 2012 to review the

settlement terms with them and explain how much money they will receive under the

settlement.

                                            20.

       On May 11, 2012, Mr. Vath requested that Intervening Attorneys obtain copies of his

oyster leases from the Louisiana Department of Wildlife and Fisheries. And, Intervening

Attorneys spent hundreds of dollars to comply with his request.

                                            21.

       Following the Preliminary Approval Order of the Economic and Property Damages

Settlement (Rec. Doc. No. 6418) of this Honorable Court, Mr. and Mrs. Vath and Mr. Winkler


                                                                                        6
   Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 7 of 13




retained a new attorney, Val Patrick Exnicios, and through their newly retained counsel,

forwarded correspondence to Attorneys stating their desire to dismiss their services

without cause.

                                             22.

       The Court has now granted preliminary approval of the settlement and Seafood

Compensation Program, including compensation formulas for Mr. Vath, Mrs. Vath, and Mr.

Winkler. Intervening Attorneys have done everything necessary to obtain settlements for

Mr. and Mrs. Vath, and Mr. Winkler. At this point, the only thing left to be done on behalf of

these clients is filling out online forms with the information Intervening Attorneys have

collected, generated, and reviewed with Mr. and Mrs. Vath, and Mr. Winkler.

                                             23.

       Defendants‐in‐Intervention, Raymond S. Vath (GCCF Claim No. 1133907), Rebecca

Winkler Vath (GCCF Claim No. 3406518), and Brian Jacob Winkler (GCCF Claim No.

1094302), are indebted unto Intervening Attorneys for the costs that Intervening

Attorneys have expended on their behalf; they are also indebted unto Intervening

Attorneys for legal fees for the prosecution of their claims, for the full amount of any legal

fees obtained by any other attorneys pursuant to La. R.S. 37:218 and for any other fees as

directed by this Honorable Court.

                                             24.

       Intervening Attorneys maintain they have been wrongfully discharged by Mr. and

Mrs. Vath, and Mr. Winkler and maintain that Intervening Attorneys performed services on

their behalves which aided them in the prosecution of their claims. See May 24, 2012

correspondence from undersigned to Val Patrick Exnicios, attached hereto as Exhibit A.


                                                                                            7
   Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 8 of 13




       WHEREFORE, Intervenors, Stephen S. Kreller of The Kreller Law Firm and Gerard

M. Nolting, William L. Roberts, and Craig S. Coleman of Faegre Baker Daniels, LLP (formerly

Faegre & Benson, LLP), and Duncan Lott and Casey L. Lott of Langston & Lott, PA, pray that

a copy of this Complaint for Intervention be served upon Defendants‐in‐Intervention

herein; that they be duly cited to appear and answer same and that, after all legal delays

and due proceedings had, there be judgment herein in favor of Intervenors, Stephen S.

Kreller of The Kreller Law Firm and Gerard M. Nolting, William L. Roberts, and Craig S.

Coleman of Faegre Baker Daniels, LLP (formerly Faegre & Benson, LLP), and Duncan Lott

and Casey L. Lott of Langston & Lott, PA, for all costs incurred by Intervenors in connection

with the legal services rendered on behalf of Mr. and Mrs. Vath, and Mr. Winkler, and for

legal fees incurred by Intervenors’ representation of Defendants‐in‐Intervention, for the

contingency fee as stated in the retainer agreement with Intervenors, together with legal

interest thereon from date of judicial demand until paid, for all costs of these proceedings

and for any other fees as directed by the court, and for all general and equitable relief.

                                     RESPECTFULLY SUBMITTED:

                                     BY: /s/ Stephen S. Kreller_______________


                                     THE KRELLER LAW FIRM

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                                                                                             8
Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 9 of 13




                          FAEGRE BAKER DANIELS, LLP

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                                ATTORNEYS FOR PLAINTIFFS




                                                                             9
  Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 10 of 13




                                 CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Complaint for Intervention has been

served on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in

accordance with Pretrial Order No. 12, and that the foregoing was electronically filed with

the Clerk of Court of the United States District Court for the Eastern District of Louisiana by

using the CM/ECF System, which will send a notice of electronic filing in accordance with

the procedures established in MDL 2179, on this 13th day of June, 2012.



                                    /s/ Stephen S. Kreller_______________




                                                                                            10
    Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 11 of 13




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Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 12 of 13
Case 2:10-md-02179-CJB-DPC Document 6676-1 Filed 06/14/12 Page 13 of 13
